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                                                                  United States District Court
                                                                    Southern District of Texas

                                                                       ENTERED
                UNITED STATES DISTRICT COURT
                                                                     August 20, 2021
                                                                    Nathan Ochsner, Clerk
                 SOUTHERN DISTRICT OF TEXAS
                     HOUSTON DIVISION

UNITED STATES OF AMERICA, §
        Respondent,       §
                          §              CRIM. NO. 4:12-CR-503
    v.                    §
                          §              CIVIL NO. 4:21-CV-662
JASON DANIEL GANDY,       §
        Movant.           §

         ORDER CONTINUING EVIDENTIARY HEARING

     The United States’ Unopposed Motion to Continue Evidentiary

Hearing is GRANTED.

     The evidentiary hearing previously scheduled for September 9,

2021, in this matter will be held on November 10, 2021, at 10:30 a.m.

in Courtroom 11-B of the Bob Casey United States Courthouse.

     The U.S. Attorney’s Office shall ensure that Gandy is transported

to this district in time to appear at this hearing.

     SIGNED on August 20, 2021, at Houston, Texas.




                             _______________________________________
                                          Lee H. Rosenthal
                                  Chief United States District Judge
